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18                                  UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA
20                                                )    No.: M-07-5944 SC
21     In Re CATHODE RAY TUBE (CRT)               )
       ANTITRUST LITIGATION                       )    MDL NO. 1917
22                                                )
                                                  )    DEFENDANTS’ JOINT REPLY BRIEF
23     This Document Relates to:                  )    IN SUPPORT OF THEIR MOTION TO
                                                  )    DISMISS DIRECT PURCHASER
24
       DIRECT PURCHASER ACTION.                   )    PLAINTIFFS’ CONSOLIDATED
25                                                )    AMENDED COMPLAINT
                                                  )
26                                                )    Date: October 5, 2009
                                                  )    Time: 9:00 a.m.
27                                                )
28
       DEFENDANTS’ JOINT REPLY BRIEF IN SUPPORT                                    MDL No. 1917
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 1                                         INTRODUCTION
 2                  Plaintiffs’ opposition displays a total disregard for both the actual allegations
 3   made in the Direct Purchaser Plaintiffs’ Consolidated Amended Complaint (“DP-CAC”) and
 4   relevant law. Instead, Plaintiffs: (i) advance a host of illusory arguments based on either
 5   complaint allegations that do not exist or mischaracterizations and misstatements of
 6   allegations that do exist; and (ii) completely ignore or misapply the applicable legal standards.
 7                  First, in an effort to avoid the devastating impact of their inability to allege an
8    actionable conspiracy claim covering the sale of Cathode Ray Tubes (“CRTs”) to class
 9   members in the United States, Plaintiffs claim that the DP-CAC alleges a conspiracy in the U.S.
10   market to fix the prices of products incorporating CRTs as a component (e.g., television sets
11   and computer monitors) (“Finished Products”). However, no such conspiracy has been
12   plausibly alleged in the DP-CAC. The consequences of this failure are calamitous for
13   Plaintiffs as the purported existence of such a claim is the principal basis for their arguments in
14   opposition to dismissing the DP-CAC on both jurisdictional and standing grounds.
15                  Second, nothing in Plaintiffs’ opposition changes the conclusion that this Court
16   lacks subject matter jurisdiction over the foreign CRT price-fixing conspiracy alleged in the
17   DP-CAC. Despite Plaintiffs’ protests to the contrary, there are no facts pled in the DP-CAC
18   which are capable of supporting a claim of a conspiracy directed at the sales of any CRTs or
19   Finished Products sold in the U.S.
20                  Third, Plaintiffs lack standing under both Illinois Brick Co. v. Illinois, 431 U.S.
21   720 (1977), and Associated General Contractors of California, Inc. v. California State Council
22   of Carpenters (“AGC”), 459 U.S. 519 (1983). Plaintiffs are, at best, indirect purchasers
23   because they do not allege that they purchased CRTs directly from any Defendant; thus, their
24   claims are barred under Illinois Brick. Moreover, Plaintiffs have not alleged facts to support a
25   claim of “antitrust injury” or satisfied the “remoteness” factors under AGC.
26                  Fourth, the statute of limitations bars all claims based on sales of CRTs that
27   occurred more than four years before the filing of the first complaint in which each Defendant
28
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 1   was first named. Plaintiffs’ conclusory allegations of fraud are wholly insufficient to satisfy
 2   the Rule 9(b) pleading requirements for asserting a claim of fraudulent concealment in the
 3   Ninth Circuit.
 4                    The Supreme Court has made it clear that federal courts are not to be used as a
 5   fishing expedition in antitrust cases so that plaintiffs can pursue burdensome and costly
 6   discovery in search of an actionable conspiracy claim. For all of these reasons, the motion to
 7   dismiss should be granted.
8                                             ARGUMENT
 9   I.       PLAINTIFFS HAVE NOT PLED A PLAUSIBLE
              CONSPIRACY IN ANY MARKET FOR FINISHED PRODUCTS
10

11                    Having recognized the fatal legal defects in their CRT conspiracy allegations,
12   Plaintiffs now claim they have alleged a conspiracy in the market for both CRTs and Finished
13   Products. See, e.g., Direct Purchaser Plaintiffs’ Combined Opposition (“Pls.’ Opp’n”) at 1.
14   However, Plaintiffs have not pled any facts capable of supporting a conspiracy directed at any
15   Finished Products market. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (a
16   plaintiff’s “[f]actual allegations must be enough to raise a right to relief above the speculative
17   level”). Indeed, the market for Finished Products has experienced intense price declines and
18   “vigorous price competition” for decades. Indirect Purchaser Consol. Am. Compl. ¶ 227.
19                    As set forth in Defendants’ opening brief, the only factual allegations of a
20   conspiracy in the DP-CAC relate to a purported conspiracy in various foreign markets for
21   CRTs. For example, while Plaintiffs point to allegations about the locations, organizational
22   structure of, participants in, and subjects discussed at, various alleged conspiratorial meetings
23   (Pls.’ Opp’n at 2-3), those allegations relate solely to an alleged conspiracy in the market for
24   CRTs. See DP-CAC ¶ 137 (alleging meetings of “CRT makers”); ¶ 139 (alleging a “CRT
25   conspiracy”); ¶ 144 (alleging agreements on CRT prices); ¶¶ 111, 146 (alleging agreements on
26   output restrictions for CRTs); ¶ 188 (“Defendants’ collusion is evidenced by unusual price
27   movements in the CRT market.”); ¶ 197 (“The stability of the price of CRTs was accomplished
28                                                                                                   2
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 1   by the collusive activities alleged above.”) (emphases added throughout). The DP-CAC does
 2   not allege any facts to support a claim that any of the alleged conspiratorial meetings restricted
 3   competition in the sale of televisions or monitors. Nor can plaintiffs substitute arguments in
 4   their brief for complaint allegations. See Schneider v. Cal. Dep’t of Corr., 151 F.3d 1194,
 5   1197 n.1 (9th Cir. 1998) (“In determining the propriety of a Rule12(b)(6) dismissal, a court
 6   may not look beyond the complaint to a plaintiff’s moving papers, such as a memorandum in
 7   opposition to a defendant’s motion to dismiss.” (emphasis in original)); Sathianathan v. Smith
8    Barney, Inc., No. C 04-2130 SBA, 2004 WL 3607403, at *9 n.13 (N.D. Cal. Jun. 6, 2004)
 9   (“‘[I]t is axiomatic that the complaint may not be amended by the briefs in opposition to a
10   motion to dismiss.’” (quoting Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th
11   Cir. 1984))).
12                   In the DP-CAC, Plaintiffs allege only that in reaching purported agreements
13   regarding CRTs, CRT makers also “considered the internal pricing of products containing
14   CRTs.” DP-CAC ¶ 144; see also ¶ 146 (analysis of alleged CRT output restriction agreements
15   “included consideration of downstream prices for televisions, computer monitors, or similar
16   products” and how the downstream prices “would affect the price ranges [for CRTs] being
17   collusively set”). Plaintiffs nowhere specifically allege that Defendants agreed to fix the prices
18   of Finished Products.1
19                   The paragraphs Plaintiffs cite to support their contention that they have alleged
20   a conspiracy to fix the prices of Finished Products (see DP-CAC ¶¶ 1, 5-7, 134, 138, 139, 141,
21   215-221) contain only undifferentiated allegations concerning “CRT Products,” a category
22   into which Plaintiffs have lumped both CRTs and Finished Products. But, lumping together
23   conclusory assertions is insufficient to state a plausible conspiracy claim under Twombly. See
24
     1
25     Plaintiffs’ reliance on the indictment of C.Y. Lin of Chunghwa PT further belies their claim
     of any alleged conspiracy in the market for Finished Products. That indictment makes clear
26   that the alleged conspiracy relates to the CRT market, not the market for Finished Products.
     See Saveri Decl. in Supp. of Pls.’ Opp’n, Ex. 7; see also DP-CAC ¶¶ 125-31, 133 (alleging that
27   foreign and domestic enforcement agencies are investigating Defendants’ alleged CRT
     conspiracy).
28                                                                                                3
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 1   550 U.S. at 570; see also Rick-Mik Enters. Inc. v. Equilon Enters., LLC, 532 F.3d 963, 976-77
 2   (9th Cir. 2008) (price-fixing claim fails for “impermissible vagueness” under Twombly where,
 3   among other things, “[t]he nature of the conspiracy or agreement is not alleged”); In re Late
 4   Fee & Over-Limit Fee Litig., 528 F. Supp. 2d 953, 962 (N.D. Cal. 2007) (antitrust complaint
 5   insufficient under Twombly where it provided “no details as to when, where, or by whom this
 6   alleged agreement was reached”).
 7                  Indeed, Plaintiffs have not alleged any specific facts relating to a Finished
8    Products conspiracy, nor have they contended that Defendants have a collective market share
 9   in the sale of any particular Finished Products in the U.S. This failure is not just a technicality,
10   as Plaintiffs have not named as Defendants, or as participants in any alleged Finished Products
11   conspiracy, numerous companies – for example, Sony Corporation, Sharp, Sanyo, and Visio in
12   the television market, and Dell, Apple, Gateway, and Hewlett Packard in the monitor market –
13   that have major shares in U.S. markets for Finished Products. Without such participants, any
14   alleged conspiracy in the Finished Products markets makes no economic sense and cannot state
15   a plausible claim under Twombly. See 550 U.S. at 570; Rick-Mik Enters., 532 F.3d at 976-77;
16   Late Fee, 528 F. Supp. 2d at 962; see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
17   475 U.S. 574, 587 (1986); DM Research, Inc. v. Coll. of Am. Pathologists, 170 F.3d 53, 56 (1st
18   Cir. 1999) (affirming dismissal of a complaint where allegation of conspiracy was
19   economically implausible); Lucas v. Citizens Commc’ns Co., 409 F. Supp. 2d 1206, 1214-15
20   (D. Haw. 2005) (holding that a plaintiff must allege an economically plausible conspiracy).
21                  In sum, even under the most liberal view of the Twombly standard, the
22   DP-CAC alleges no facts capable of supporting a Finished Products conspiracy claim. And,
23   because Plaintiffs’ opposition is based entirely on their having pled a Finished Products
24   conspiracy, the DP-CAC must be dismissed.
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 1   II.      THIS COURT LACKS SUBJECT MATTER JURISDICTION UNDER THE FTAIA
 2                   Plaintiffs do not dispute that under the FTAIA, the Sherman Act does not apply
 3   to conduct involving foreign trade unless that conduct has direct, substantial, and reasonably
 4   foreseeable anticompetitive effects on U.S. commerce. See 15 U.S.C. § 6a (2006). Nor do
 5   Plaintiffs dispute that the DP-CAC is replete with allegations of foreign conduct concerning
 6   foreign CRT sales. See, e.g., DP-CAC ¶¶ 6, 134, 141, 151, 153, 155-80. Nonetheless,
 7   Plaintiffs contend that the U.S. antitrust laws should be applied to the DP-CAC. Plaintiffs are
8    wrong.
 9            A.     The DP-CAC Fails to Allege a Conspiracy Aimed at the United States
10                   In an effort to avoid the FTAIA, Plaintiffs argue that the DP-CAC alleges “a
11   conspiracy aimed at” and “furthered partially in” the U.S. Pls.’ Opp’n at 5. This Court
12   squarely rejected such a theory in In re Rubber Chemicals Antitrust Litigation, holding that, for
13   purposes of the FTAIA, foreign conduct cannot be “‘combined with domestic conduct in an
14   attempt to confer jurisdiction over the foreign conduct under the rubric of a single claim.’” 504
15   F. Supp. 2d 777, 784 (N.D. Cal. 2007) (quoting In re Intel Corp. Microprocessor Antitrust
16   Litig., 452 F. Supp. 2d 555, 562 (D. Del. 2006) (“Intel”)); see Dee-K Enters., Inc. v. Heveafil
17   Sdn. Bhd, 299 F.3d 281, 294-95 (4th Cir. 2002) (the FTAIA applies where, as here, the “acts,
18   targets, and effects” are “primarily foreign”).2
19                   Indeed, Plaintiffs ignore the well-established rule that allegations of foreign
20   agreements directed at a general “worldwide” market are not enough to meet the FTAIA
21   jurisdictional test. See, e.g., Defs.’ Mot. to Dismiss DP-CAC at 11 (citing Dee-K Enters., 299
22   F.3d at 295).     Plaintiffs’ argument that Dee-K does not apply because it “involve[d]
23   importation of foreign-made goods” (Pls.’ Opp’n at 10 n.2) is simply wrong as Dee-K “stands
24   for the proposition that the FTAIA bars claims failing to establish not only a clear link between
25
     2
26     It is axiomatic that the FTAIA applies to foreign sales. See United States v. LSL Biotechs.,
     379 F.3d 672, 680 (9th Cir. 2004) (holding that the FTAIA controlled where plaintiffs alleged
27   an agreement between domestic and foreign corporations to restrict the sale of modified seeds
     in Mexico).
28                                                                                               5
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 1   the defendants’ illegal conduct and the United States trade or commerce, but also that the
 2   United States trade was, at the very least, ‘a’ focus point of the Defendants’ illegal conduct.”
 3   Animal Sci. Prods., Inc. v. China Nat’l Metals & Minerals Imp. & Exp. Corp., 596 F. Supp. 2d
 4   842, 865-66 (D.N.J. 2008). Here, however, Plaintiffs fail to connect the alleged conspiracy to
 5   the U.S.
 6                  First, sales of Finished Products in the U.S. are irrelevant because the DP-CAC
 7   does not allege any facts capable of supporting a conspiracy in any market for Finished
8    Products (let alone for Finished Products sold in the U.S.). See supra Section I.
 9                  Second, Plaintiffs’ assertion that the allegations in the DP-CAC involve some
10   “conspiratorial conduct” that is “United States-based” (Pls.’ Opp’n at 7) is not true. For
11   example, Plaintiffs argue that the DP-CAC allegation that “United States based Defendants
12   were represented at collusive meetings held abroad” somehow establishes the requisite link to
13   the U.S. Pls.’ Opp’n at 6. But, the U.S. citizenship of Defendants is irrelevant (see FTAIA
14   House Report, H.R. Rep. No. 97-686, at 9-10 (1982) reprinted in 1982 U.S.C.C.A.N. 2487,
15   2494-95), and there is no factual allegation to support the conclusory assertion that U.S.
16   Defendants were somehow “represented” at foreign meetings.
17                  Third, the conclusory allegation of a cooperative relationship between U.S. and
18   Korean trade associations does not further Plaintiffs’ conspiracy claims, let alone establish any
19   domestic effect. Plaintiffs do not allege how such trade associations were used to further the
20   alleged conspiracy, let alone in the U.S. See DP-CAC ¶¶ 176-80. And, courts have regularly
21   held that mere trade association membership is insufficient to support a conspiracy claim. See,
22   e.g., In re Citric Acid Litig., 191 F.3d 1090, 1098 (9th Cir. 1999); In re Graphics Processing
23   Units Antitrust Litig., 527 F. Supp. 2d 1011, 1023 (N.D. Cal. 2007); Twombly, 550 U.S. at
24   566-67 n.12.
25                  Fourth, Plaintiffs provide no factual allegations linking the factory closings of
26   three U.S. Defendants between 2004 and 2006 to the alleged CRT conspiracy. DP-CAC ¶¶
27   183, 185, 187. And, Plaintiffs’ allegation that purported agreements relating to foreign CRT
28                                                                                                  6
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 1   sales were “stated in United States dollars” (DP-CAC ¶ 144) does not support a claim that this
 2   alleged conduct furthered any claimed conspiracy directed at U.S. sales.
 3                   Fifth, Plaintiffs’ conclusory assertion that the conspiracy caused adverse
 4   impacts in the U.S. (Pls.’ Opp’n at 7) is not sufficient to bring the DP-CAC within the reach of
 5   the U.S. antitrust laws. See Twombly, 550 U.S. at 555 (allegations consisting of mere “labels
 6   and conclusions” are insufficient to state a claim).
 7                   Sixth, because Plaintiffs have failed to allege facts supporting a plausible claim
8    of a conspiracy aimed at, or otherwise involving, the U.S. market, Plaintiffs’ attempts to
 9   distinguish the cases relied upon by Defendants are unavailing. Pls.’ Opp’n at 7-10. For
10   example, in Intel, the plaintiff alleged that because the market for microprocessors “is a single,
11   unitary, world-wide market,” Intel’s alleged anticompetitive foreign conduct involving that
12   product had direct domestic effects. 452 F. Supp. 2d at 559. The court rejected those
13   allegations as being too attenuated to establish “direct” anticompetitive domestic effects. Id. at
14   560-61 (“the allegations of foreign conduct here result in nothing more than what courts have
15   termed a ‘ripple effect’ on the United States domestic market”).3
16                   Finally, Plaintiffs attempt to distinguish United Phosphorus, Ltd. v. Angus
17   Chemicals Co. because the allegedly price-fixed product in that case was never sold to
18   plaintiffs in the U.S. (Pls.’ Opp’n at 9-10), but the same is true here. Plaintiffs have not alleged
19   specific facts to support any claim that the purportedly price-fixed products – CRTs (as
20   opposed to Finished Products) – were sold to Plaintiffs in the United States.4
21

22   3
       Nor can Plaintiffs rely on allegations regarding the alleged price-fixing of foreign sales of
23   CRTs, which may have been used, in part, as inputs for Finished Products sold in the U.S.
     Plaintiffs do not dispute that the FTAIA bars antitrust actions where Plaintiffs allege “restraints
24   in foreign markets for inputs,” such as CRTs, “that are used abroad to manufacture
     downstream products that may later be imported into the United States.” United Phosphorus,
25   Ltd v. Angus Chem. Co., 131 F. Supp. 2d 1003, 1014 (N.D. Ill. 2001), aff’d, 322 F.3d 942, 949
     (7th Cir. 2003) (emphasis added); see id. (domestic effects, if any, of such inputs “would
26   obviously not be ‘direct,’ much less ‘substantial’ and ‘reasonably foreseeable’”); In re Intel
     Corp. Microprocessor Antitrust Litig., 476 F. Supp. 2d 452, 456 (D. Del. 2007).
27   4
       The same is true for the other cases Plaintiffs attempt to distinguish, including F.
     Hoffman-LaRoche Ltd. v. Empagran S.A., 542 U.S. 155 (2004), In re Dynamic Random Access
28                                                                                                     7
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 1            B.    The DP-CAC Fails to Allege That Defendants’ Purportedly
                    Anticompetitive Conduct Involved United States Imports
 2
 3                  Plaintiffs next argue that they meet the “import trade or commerce exception”
 4   to the FTAIA. Pls.’ Opp’n at 10-11. Plaintiffs, however, seriously misstate that exception,
 5   which applies only in the “narrow” circumstance where “defendants directly brought items or
 6   services into the United States or directly increased or decreased United States imports.” In re
 7   Korean Air Lines Co., Ltd. Antitrust Litig., MDL No. 07-01891, at 8 (C.D. Cal. June 25, 2008)
8    (“KAL”) (Saveri Decl. in Supp. of Pls.’ Opp’n, Ex. 1) (emphases added); see also Animal Sci.
 9   Prods., 596 F. Supp. 2d at 861; Korea Kumho Petrochemical v. Flexsys Am. LP, No.
10   C07-01057 MJJ, 2008 WL 686834, at *6 (N.D. Cal. March 11, 2008) (“Here, the relevant
11   alleged misconduct by the Defendants reflects no ‘involvement’ in import trade or commerce,
12   it simply reflects . . . restraints on foreign trade”). As Plaintiffs’ authorities make clear,
13   Plaintiffs must set forth facts alleging that Defendants’ supposed anticompetitive conduct
14   “involve[ed]” “import trade or import commerce,” i.e., that “conduct by the defendants . . . was
15   directed at an import market.” Kruman v. Christie’s Int’l PLC, 284 F.3d 384, 395 (2d Cir.
16   2002); see also KAL, CV 07-05107 at 8-9. Moreover, the affected import market must be the
17   market for the allegedly price-fixed product. See United Phosphorus, 131 F. Supp. 2d at
18   1023-24 (rejecting import exception where plaintiffs alleged restraints in foreign markets for
19   inputs used abroad to manufacture downstream products that were later imported into the
20   U.S.).
21                  Here, the DP-CAC does not allege: (i) that Defendants imported CRTs; (ii) that
22   Defendants increased or decreased U.S. imports; or (iii) that the purported conspiracy was
23   directed at the U.S. import market. In fact, the word “import” does not even appear in the
24

25   Memory (DRAM) Antitrust Litigation, 546 F.3d 981 (9th Cir. 2008), and In re Rubber
     Chemicals Antitrust Litigation, 504 F. Supp. 2d 777. In those cases, the courts declined to
26   exercise subject matter jurisdiction where the allegedly price-fixed products were sold outside
     the U.S. Similarly, Plaintiffs’ reliance on the SRAM, Flash Memory and TFT-LCD decisions,
27   as well as the TFT-LCD-related chart at Exhibit 3 to the Saveri Declaration, is misplaced as
     none of those decisions addressed the FTAIA.
28                                                                                                 8
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 1   DP-CAC. Paragraphs 24-80 of the DP-CAC, to which Plaintiffs point for their purported
 2   “import” allegations, only contain conclusory allegations that Defendants made sales of CRT
 3   Products in the U.S.; they do not allege that Defendants were “importers,” let alone that the
 4   alleged conspiracy was directed at the market for U.S. imports of CRTs. Plaintiffs’ reliance on
 5   paragraphs 183, 185 and 187 of the DP-CAC is similarly misguided as those paragraphs
 6   nowhere allege that purported closings of CRT plants “directly caused United States imports of
 7   [Finished Products] to increase.”5 Pls.’ Opp’n at 12.
8            C.     The Court Should Grant Defendants’ Motion to Dismiss under the FTAIA
 9                  Finally, there is no support for Plaintiffs’ argument that subject matter
10   jurisdiction under the FTAIA is “not a dispute that can properly be decided on the pleadings.”
11   Pls.’ Opp’n at 13. Courts regularly decide the applicability of the FTAIA at the pleadings stage
12   and dismiss complaints where, as here, plaintiffs have not met the jurisdictional test. See, e.g.,
13   Commercial Street Express LLC v. Sara Lee Corp., No. 08 C 1179, 2008 WL 5377815 (N.D.
14   Ill. Dec. 18, 2008); Emerson Elec. Co. v. Le Carbone Lorraine, S.A., 500 F. Supp. 2d 437
15   (D.N.J. 2007); cf. Den Norske Stats Oljeselskap AS v. Heeremac Vof, 241 F.3d 420 (5th Cir.
16   2001); In re Graphite Electrodes Antitrust Litig., No. 10-MD-1244, 2007 WL 137684 (E.D. Pa.
17   Jan. 16, 2007); In re Monosodium Glutamate Antitrust Litig., No. 00-MDL-1328, 2005 WL
18   2810682 (D. Minn. Oct. 26, 2005), aff’d, 477 F.3d 535 (8th Cir. 2007); Latino Quimica-Amtex
19   S.A. v. Akzo Nobel Chems. B.V., No. 03 Civ. 10312 (HBDF), 2005 WL 2207017 (S.D.N.Y.
20   Sept. 8, 2005). Indeed, the only specific factual allegations in the DP-CAC relate to alleged
21   overseas agreements among foreign companies concerning foreign CRT sales. Plaintiffs have
22   thus failed to plead the requisite domestic effects, requiring dismissal of the DP-CAC.
23
     5
24     In this connection, it is insufficient for the DP-CAC to allege a conspiracy controlling CRT
     prices paid in foreign markets, even if the CRTs purchased abroad were later imported into the
25   U.S. Kruman, 284 F.3d at 395-96; see also Animal Sci. Prods., 596 F. Supp. 2d at 861 (“if
     defendants did not directly bring items or services into the United States, they cannot be
26   labeled importers . . . the fact that the product eventually found its way into the United States
     does not transform the defendant into an importer.”) (internal citations and quotation marks
27   omitted); Turicentro, S.A. v. Am. Airlines Inc., 303 F.3d 293, 303-04 (3d Cir. 2002); United
     Phosphorus, 131 F. Supp. 2d at 1023.
28                                                                                                   9
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 1                   Moreover, the Supreme Court has made clear that legal conclusions, without
 2   more, do not “unlock the doors of discovery.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950 (2009);
 3   see Twombly, 550 U.S. at 558 (“[I]t is one thing to be cautious before dismissing an antitrust
 4   complaint in advance of discovery . . . but quite another to forget that proceeding to antitrust
 5   discovery can be expensive.”); id. a 560 n.6 (describing antitrust discovery as a “sprawling,
 6   costly, and hugely time-consuming undertaking”). Indeed, Plaintiffs’ conclusory assertion
 7   that a foreign conspiracy aimed at foreign sales of CRTs somehow “affected” the U.S. market
8    – with no specific factual support – is not a sufficient basis for a fishing expedition. See id.; see
 9   also The Oso Group, Ltd. v. Bullock & Assocs., Inc., No. 09-1906 SC, 2009 WL 2422285 at *3
10   (N.D. Cal. Aug. 6, 2009) (Conti, J.) (denying request for jurisdictional discovery).
11                   Because the FTAIA bars jurisdiction, the DP-CAC should be dismissed in its
12   entirety. Alternatively, even if the Court were to find some allegations in the DP-CAC
13   sufficient to allege a conspiracy to fix the price of CRTs sold in the U.S., it should still dismiss
14   all claims directed at purported agreements fixing the foreign sales price of CRTs, even if it is
15   alleged that these CRTs may have, in part, been subsequently incorporated into Finished
16   Products that were then imported into the U.S.
17   III.     PLAINTIFFS LACK STANDING
18            A.     Plaintiffs’ Claims Are Barred By Illinois Brick
19                   As set forth in Defendants’ moving papers, Plaintiffs’ claims are indirect;
20   therefore, Plaintiffs lack standing and the DP-CAC must be dismissed. See Illinois Brick Co. v.
21   Illinois, 431 U.S. 720 (1977) (barring plaintiffs from bringing indirect purchaser claims under
22   federal antitrust law). Each of Plaintiffs’ arguments to the contrary is unavailing.
23                   1.      Plaintiffs Admit That They Are Indirect Purchasers of CRTs
24                   Plaintiffs have not alleged that they directly purchased CRTs, the allegedly
25   price-fixed product, from any Defendant. See supra Section I. Indeed, the DP-CAC makes
26   clear that Plaintiffs purchased downstream Finished Products that incorporated an allegedly
27   price-fixed CRT. See DP-CAC ¶ 86 (“The Class definition encompasses those who bought a
28                                                                                                     10
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 1   CRT Product directly from a Defendant, even if the CRT contained therein was manufactured
 2   by an affiliated entity, principal, agent, or co-conspirator.” (emphasis added)). This is fatal as
 3   Plaintiffs cite no case to support the proposition that by purchasing Finished Products they are
 4   direct purchasers of CRTs “contained therein.” Id. Instead, Plaintiffs assert that they have
 5   standing under the owned/controlled exception to Illinois Brick. Pls.’ Opp’n at 19-20 (relying
 6   on In re Sugar Industry Antitrust Litigation, 579 F.2d 13 (3d Cir. 1978), to justify standing as
 7   direct purchasers). By relying on Sugar, Plaintiffs concede that they are indirect purchasers of
8    CRTs. See Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 424 F.3d 363, 371-72 (3d
 9   Cir. 2005) (Sugar supports standing for indirect purchaser claims “only when the initial seller
10   owned the direct purchaser”).
11                   2.      Plaintiffs’ Reliance on Sugar Is Misplaced
12                   The Third Circuit’s opinion in Sugar does not exempt Plaintiffs from the
13   Illinois Brick indirect purchaser bar. Since Plaintiffs did not directly purchase CRTs, Plaintiffs
14   cannot sue for damages unless they fall under one of the two narrow exceptions to Illinois
15   Brick: (i) when plaintiffs purchase the price-fixed product from an intermediary under a
16   pre-existing cost-plus contract, or (ii) when plaintiffs purchase the price-fixed product from an
17   intermediary that is owned or controlled by the defendant manufacturer of the product. See
18   Del. Valley Surgical Supply, Inc. v. Johnson & Johnson, 523 F.3d 1116, 1123 n.1 (9th Cir.
19   2008). Neither exception applies here.
20                           (a)     Plaintiffs’ Purchases Do Not Fall Within the
                                     Owned/Controlled Exception to Illinois Brick
21

22                   The Sugar court held that indirect purchasers can bring federal antitrust claims

23   notwithstanding Illinois Brick under the owned/controlled exception only where the

24   intermediary (i) is a subsidiary or division of the defendant, (ii) sold to plaintiffs a product that

25   incorporated the allegedly price-fixed product, and (iii) sourced the allegedly price-fixed

26

27

28                                                                                                     11
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 1   product internally from the defendant. 579 F.2d at 18-19 (citing Illinois Brick, 431 U.S. at 736
 2   n.16)).6
 3                  Plaintiffs do not plead facts that bring them within the exception. First,
 4   Plaintiffs do not allege that the participants in the alleged CRT conspiracy controlled the
 5   entities that sold Finished Products to Plaintiffs, even though such allegations are the sine qua
 6   non of the owned/controlled exception. See Sugar, 579 F.2d at 19. Rather, Plaintiffs allege
 7   they have purchased “CRT Products” – which in context means Finished Products – from
8    Defendants and/or their subsidiaries. DP-CAC ¶¶ 11-23. Plaintiffs never allege that the
 9   Finished Products contained component CRTs manufactured by an entity controlled by (or in
10   control of) the Defendant from whom the Finished Product was purchased.7 Second, Plaintiffs
11   do not allege that they purchased from intermediaries Finished Products continaing CRTs
12   manufactured by the intermediary’s corporate parent, as Sugar requires. On this basis alone
13   dismissal is warranted.
14                  Moreover, the “incorporated products” prong of Sugar was abrogated by the
15   Supreme Court’s admonition not to create further exceptions to the Illinois Brick rule beyond
16   those set forth in the decision itself. See Kansas v. UtiliCorp United Inc., 497 U.S. 199, 208
17   (1990). With few exceptions, 8 cases that rely on Sugar do so only where the plaintiff
18
19
     6
20     Courts have interpreted the third prong of the Sugar analysis to require that the defendant has
     “functional unity” with the intermediary sellers, i.e., the power to control the intermediary
21   sellers’ pricing decisions along the chain of distribution. See In re Brand Name Prescription
     Drugs Antitrust Litig., 123 F.3d 599, 605-06 (7th Cir. 1997); Jewish Hosp. Ass’n v. Stewart
22   Mech. Enters., Inc., 628 F.2d 971, 975 (6th Cir. 1980). Here, as Plaintiffs admit, the
     intermediary sellers purchased CRTs not only from their corporate parents, but from affiliates,
23   independent joint ventures, and third parties and there is no allegation of the required price
     controls.
24   7
       If, for example, Plaintiffs purchased a television from X that included a CRT from Y, the
     Sugar exception to Illinois Brick would plainly have no application.
25   8
       Plaintiffs rely in their opposition on the Third Circuit’s ruling in In re Linerboard Antitrust
26   Litigation, 305 F.3d 145 (3d Cir. 2002). However, it is important to note that the Third Circuit
     presumed in Linerboard, as it did in Sugar, that the price-fixed component was manufactured
27   by the same entity that sold the finished product to plaintiffs. Id. at 159. As described herein,
     those facts are materially different from those alleged in the present case.
28                                                                                                  12
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 1   purchased the price-fixed good itself from an intermediary. See, e.g., Royal Printing Co. v.
 2   Kimberly-Clark Corp., 621 F.2d 323, 326 (9th Cir. 1980).
 3                  Royal Printing and its progeny are clearly distinguishable from the case at
 4   hand. While the Royal Printing plaintiffs purchased the actual price fixed product, Plaintiffs
 5   here did not; rather, they purchased a completely different product that only incorporated the
 6   allegedly priced fixed good as one of several components. Plaintiffs, therefore, participated in
 7   a distinct market downstream from the market directly affected by the alleged conspiracy.
8    Given that Plaintiffs do not allege that several leading manufacturers of downstream products,
 9   such as Sony, Sharp, HP, and Dell participated in the alleged conspiracy, it is implausible to
10   assume that the downstream products incorporating CRTs were not subject to competition.
11   Moreover, there is no reason to doubt that such downstream competitors would seek to enforce
12   the antitrust laws as the direct purchasers of CRTs, with the requisite standing to do so. See
13   Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1187-88 (N.D. Cal.
14   2009) (suit by direct purchaser of DRAM). The instant case, therefore, does not fall under the
15   Royal Printing rule, which requires both (i) that the plaintiffs purchase the actual price-fixed
16   product itself, and (ii) that there is no real likelihood that direct purchasers would seek to
17   enforce the antitrust laws themselves. Id. at 327.9
18                  Further, permitting Plaintiffs to pursue their indirect claims empowers them to
19   assert an offensive pass-on claim while Hanover Shoe would deny Defendants the ability to
20   assert a pass-on defense. This is inconsistent with the opinion of Justice White, the author of
21   Illinois Brick, who stated that the decision in that case was compelled by the Hanover Shoe bar.
22   See Illinois Brick, 431 U.S. at 736-37. In short, Plaintiffs seek the ability to claim damages for
23   alleged overcharges passed on to them while at the same time denying Defendants the ability to
24
     9
25     Rather, Royal Printing is inapposite to Plaintiffs’ claims against all Defendants and, in
     particular, those that manufacture and sell downstream Finished Products only. The question
26   in Royal Printing was whether Illinois Brick barred plaintiffs’ suit where the plaintiff had
     directly purchased the price-fixed product itself from a subsidiary of an alleged co-conspirator.
27   Royal Printing, therefore, has no relevance whatever to the allegations here, where Plaintiffs

28                                                                                                  13
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 1   show that Plaintiffs themselves passed on the alleged overcharge to their customers. As Justice
 2   White observed, such an unjust result cannot abide in law. Id.; see Mid-West Paper Prods. Co.
 3   v. Cont’l Group, Inc., 596 F.2d 573, 576 (3d Cir. 1979).
 4                           (b)     Plaintiffs’ Claims Must Be Dismissed Where
                                     Plaintiffs Purchased Finished Products that
 5                                   Included a CRT Purchased from an Independent Entity
 6                   In Sugar, the plaintiff, which had alleged a conspiracy among refiners to fix the

 7   price of sugar, purchased candy that incorporated the allegedly price-fixed sugar. Sugar, 579

8    F.2d at 15. On a petition for rehearing, defendant Borden asserted that, as a factual matter, the

 9   candy plaintiff had purchased only contained sugar that had been refined by independent

10   entities. Id. at 19. The Third Circuit, in denying Borden’s petition, expressly noted that it was

11   only asking “whether [plaintiff] was permitted to maintain a claim as a direct purchaser from

12   Borden of candy manufactured with sugar Borden had refined.” Id. The Third Circuit further

13   noted that Borden was “not precluded from now contending on remand to the district court that

14   none of its refined sugar was in the products it sold to [plaintiff].” Id. at 20. The same facts the

15   Third Circuit recognized would negate the claims against Borden are also present here.

16                   In the instant case, Plaintiffs’ only non-conclusory allegations concern a

17   conspiracy among manufacturers to fix the price of CRTs purchased downstream from

18   intermediaries that incorporated the allegedly price-fixed CRTs. See DP-CAC ¶ 86. Plaintiffs

19   do not restrict their claims to cases where the intermediary purchased CRTs from a corporate

20   parent; rather, Plaintiffs’ allegations sweep in all purchases of CRTs, from affiliates, joint

21   ventures, and unrelated third parties. Pls.’ Opp’n at 116-17. The Third Circuit did not address

22   such claims in Sugar; rather, that holding would only arguably apply to claims regarding

23   allegedly price-fixed CRTs from a corporate parent, sold to an intermediary for inclusion in a

24

25

26

27   do not allege that they directly purchased the allegedly price-fixed product (CRTs) itself but
     rather downstream Finished Products that incorporated the allegedly price-fixed component.
28                                                                                                14
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 1   Finished Product, and then sold to Plaintiffs. The DP-CAC, however, includes no such
 2   specific claims.10
 3            B.     Plaintiffs Have Not Established Antitrust Standing
                     Under Associated General Contractors to Assert Claims
 4                   Based Upon Purchases of Finished Products Containing CRTs
 5                   Plaintiffs have attempted to obscure not only the nature of their alleged

 6   conspiracy, but also the nature of the purchases underlying their claims. As set forth above,

 7   Plaintiffs have not alleged any facts sufficient to claim a conspiracy concerning Finished

8    Products. See supra Section I. Moreover, the DP-CAC deliberately obscures which Plaintiffs,

 9   if any, purchased CRTs standing alone, and which Plaintiffs merely bought a Finished Product,

10   containing a CRT that was purchased and incorporated into the Finished Product by someone

11   else.11 However, all Plaintiffs who only bought Finished Products are indirect purchasers who

12   have not and cannot satisfy the test for antitrust standing set forth in Associated General

13   Contractors of California, Inc. v. California State Council of Carpenters (“AGC”), 459 U.S.

14   519 (1983).12 To the extent Plaintiffs are in fact indirect purchasers, Defendants incorporate

15   by reference their analysis of antitrust standing under AGC as set forth in their reply brief in

16   support of their Joint Motion to Dismiss the Indirect Purchaser Plaintiffs’ Complaint.

17   Defendants also respond as follows to certain arguments advanced by Plaintiffs here.

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19

20
     10
21      There can be no dispute that Sugar applies only to intermediaries and manufacturers owned
     by the same entity. It plainly has no application whatever to any Defendant in this case that
22   does not wholly own both makers and sellers of CRTs and Finished Products. Thus, Sugar
     cannot support standing against any non-wholly owned Defendant that makes and sells CRTs
23   only, or any non-wholly owned Defendant that makes and sells Finished Products only.
     11
        Plaintiffs do not identify a single truly “direct” purchaser of a CRT itself. Rather, in
24   boilerplate fashion, the DP-CAC alleges that each of the 13 named Plaintiffs “purchased one or
     more CRT Products from one of the defendants and/or their subsidiaries and suffered injury as
25   a result of defendants’ unlawful conduct.” See DP-CAC ¶¶ 11-23 (emphasis added).
     12
26      Plaintiffs do not dispute that they need to establish antitrust standing under the multi-factor
     test set forth in AGC and its progeny with respect to all of their allegations to recover under the
27   federal antitrust laws. Pls.’ Opp’n at 17 (citing AGC, 459 U.S. at 535 and Am. Ad Mgmt., Inc.
     v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1054 (9th Cir. 1999)).
28                                                                                                    15
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 1                   1.      Plaintiffs Have Failed to Establish An Antitrust Injury
 2                   Plaintiffs recognize that courts give “great weight” to the first AGC factor, the
 3   “nature of plaintiff’s alleged injury.” Pls.’ Opp’n at 17 (citing Am. Ad Mgmt., 190 F.3d at
 4   1054).13 Plaintiffs also concede that antitrust injury requires a showing that Plaintiffs are
 5   “participants in the relevant market.” Id.; see also Bhan v. NME Hosp., Inc., 772 F.2d 1467,
 6   1470 n. 3 (9th Cir. 1985) (“the injured party [must] be a participant in the same market as the
 7   alleged malefactors” (emphasis added)); AGC, 549 U.S. at 538 (antitrust laws are designed to
8    “protect[] the economic freedom of participants in the relevant market” (emphasis added)). In
 9   determining whether goods exist within the same market, “the focus is upon the reasonable
10   interchangeability of use or the cross-elasticity of demand between” the goods in question.
11   Bhan, 772 F.2d at 1470-71. “Parties whose injuries, though flowing from that which makes
12   the defendant’s conduct unlawful, are experienced in another market do not suffer antitrust
13   injury.” Am. Ad Mgmt., 190 F.3d at 1057.
14                   Here, Plaintiffs not only concede that the alleged injury took place in a separate
15   relevant market from the Finished Products market, they in fact allege it. The DP-CAC
16   specifically alleges that CRT manufacturers analyzed “downstream prices for televisions,
17   computer monitors or similar products and how they would affect the price ranges being
18   collectively set.” DP-CAC ¶ 146 (emphases added). This is a clear and incurable admission:
19   Plaintiffs have failed to allege their participation in the CRT market and thus have failed to
20   establish requisite antitrust injury.
21                   Rather than have this Court apply these well-settled principles, Plaintiffs assert
22   that because they allegedly purchased “goods” from “cartel members,” they have alleged an
23   antitrust injury. Pls.’ Opp’n at 15. Because Plaintiffs have not sufficiently alleged the
24
     13
25      As another case cited by Plaintiffs held in dismissing a complaint for lack of antitrust
     standing because of the absence of an antitrust injury, “the antitrust injury requirement exists
26   independently of the elements of an antitrust violation and becomes itself a pleading
     requirement.” Mathias v. Daily News, L.P., 152 F. Supp. 2d 465, 478 (S.D.N.Y. 2001); see
27   Toscano v. PGA Tour, Inc., 201 F. Supp. 2d 1106, 1116 (E.D. Cal. 2002) (“the absence of
     antitrust injury is fatal”).
28                                                                                                16
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 1   existence of any “cartel” concerning Finished Products, however, this argument has no weight.
 2   See supra Section I.14
 3                   Accordingly, Plaintiffs have improperly attempted to blur the distinctions
 4   between very different markets in stating that they have directly purchased “price-fixed
 5   products.” Pls.’ Opp’n at 18.15 Nor can the product Plaintiffs allege was price-fixed – a CRT –
 6   be considered in the same product market as the Finished Product incorporating that CRT. As
 7   stated above, the Ninth Circuit has made clear that products are only in the same market if there
8    is “interchangeability” or “cross-elasticity of demand.” See Bhan, 772 F.2d at 1470-71. CRTs
 9   and Finished Products plainly fail that test: no consumer could use a CRT itself to watch
10   television or a video, and no consumer would buy a stand-alone CRT if prices for a finished
11   computer monitor or television set became too expensive. At bottom, Plaintiffs are merely
12   consumers in secondary markets that are “incidental” to the “market for [the CRT] itself.” In
13   re DRAM Antitrust Litig., 516 F. Supp. 2d 1072, 1090-91 (N.D. Cal. 2007) (“DRAM I”); see In
14   re DRAM Antitrust Litig., 536 F. Supp. 2d 1129, 1136 (N.D. Cal. 2008) (“DRAM II”).
15                   2.       Plaintiffs Have Not Satisfied the Remoteness Factors of AGC
16                   Separate and apart from whether Plaintiffs have pled the requisite facts to
17   establish antitrust injury, and even if Plaintiffs’ improper “CRT Products” definition is
18   allowed to stand, Plaintiffs’ claims are still hopelessly remote.16 Specifically, Plaintiffs have
19

20   14
        For this reason, Plaintiffs’ reliance on In re TFT-LCD Antitrust Litigation, 586 F. Supp. 2d
     1109, 1118 (N.D. Cal. 2008), is also unavailing.
21   15
        Plaintiffs’ citation to Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1144 (9th Cir.
22   2003) is inapposite. In Freeman, the defendants conceded that they fixed a fee for their real
     estate services at supracompetitive levels, and then sold those services to the plaintiffs. In
23   contrast, the Finished Products purchased by Plaintiffs here are not “inseparable” from the
     allegedly price-fixed CRT, for all of the reasons discussed herein.
24   16
        While antitrust injury is necessary, it is “not always sufficient to establish standing under
     section 4 [of the Clayton Act] because a party may have suffered antitrust injury but may not
25   be the proper plaintiff under section 4 for other reasons.” See Cargill, Inc. v. Monfort of Colo.,
26   Inc., 479 U.S. 104, 110 n.5 (1986); AGC, 459 U.S. at 535 (“‘Congress did not intend to allow
     every person tangentially affected by an antitrust violation to maintain an action to recover
27   threefold damages for the injury to his business or property.’” (quoting Blue Shield of Va. v.
     McCready, 457 U.S. 465, 476-77 (1982))). Plaintiffs are incorrect that these arguments are
28                                                                                                  17
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 1   not satisfied the AGC factors which focus on the “remoteness” of the purported injury. See
 2   AGC, 459 U.S. at 539-44.
 3                 For example, Plaintiffs concede that “inputs” other than CRTs determine the
 4   price of the Finished Products. Pls.’ Opp’n at 20. Indeed, there are a variety of factors – the
 5   cost of other components that collectively make up a monitor or television and the level of
 6   product differentiation, branding, and competition in downstream markets – that would have
 7   significantly influenced the price paid for the end-product, especially a product as complex as
8    a television. See, e.g., DRAM I, 516 F. Supp. 2d at 1092 (“It requires no leap of logic to
 9   conclude that each product in which DRAM is a component, contains numerous other
10   components, all of which collectively determine the final price actually paid by plaintiffs for
11   the final product”). Moreover, because televisions and monitors compete in entirely different
12   markets, including against different brands, and – increasingly in the years comprising the
13   statute of limitations period – different types of televisions and monitors (e.g., plasma and
14   LCD), the unique forces particular to each of those markets also influence the ultimate price
15   of a television or monitor, injecting even more variables.        The DP-CAC contains no
16   allegations about competition in these downstream markets to establish AGC standing. Thus,
17   as in AGC, Plaintiffs’ claim “rests at bottom on some abstract conception or speculative
18   measure of harm.” 459 U.S. at 543 (internal citations and quotation marks omitted).
19                 Further, Plaintiffs do not even purport to have alleged any type of
20   “pass-through.” Pls.’ Opp’n at 21. Nor do Plaintiffs dispute that CRTs must be physically
21   and monetarily traced through a complex web of manufacturing and distribution channels
22   before they are ultimately purchased by a Plaintiff as a Finished Product. Thus, Plaintiffs’
23   allegations concerning Finished Products are hopelessly and unreasonably complex. See
24   Lorenzo v. Qualcomm, Inc., 603 F. Supp. 2d 1291, 1301 (S.D. Cal. 2009) (the alleged injury
25   was “too remote” where the relevant technology was “only a component” of the product at
26
     “inappropriate at the pleading stage.” Pls.’ Opp’n at 20. AGC itself was decided on the
27
     pleadings. AGC, 459 U.S. at 521; see NicSand, Inc. v. 3M Co., 507 F.3d 442, 450 (6th Cir.
28                                                                                                18
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 1   issue, “which is then passed on through the supply chain such that Plaintiff’s injury also must
 2   be disaggregated from a multitude of other manufacturing and component factors”).
 3                  Plaintiffs also fail to recognize the “risk of duplicative recoveries” identified
 4   by the AGC Court, which also weighs against antitrust standing. See 459 U.S. at 542.
 5   Plaintiffs’ sole response concerns the presence of Indirect Purchaser Plaintiffs. Pls.’ Opp’n at
 6   21. But, to the extent there are Plaintiffs who purchased CRTs directly from Defendants, such
 7   Plaintiffs would have suffered more “direct harm” due to their participation in the allegedly
8    restrained CRT market.
 9   IV.     PLAINTIFFS’ OPPOSITION UNDERSCORES THAT THEIR
             COMPLAINT FAILS TO SUFFICIENTLY PLEAD FRAUDULENT
10           CONCEALMENT AND MUST BE DISMISSED AS TIME BARRED
11           A.     Despite Plaintiffs’ Concession That They Are Required To Plead
12                  Fraudulent Concealment With Particularity, Plaintiffs Have Not

13                  Plaintiffs concede that to sufficiently plead fraudulent concealment the
14   “‘circumstances constituting fraud’ must be pled with particularity.” Pls.’ Opp’n at 23 (citing
15   Fed. R. Civ. P. 9(b)).17 Plaintiffs also admit that the DP-CAC attempts to assert fraudulent
16   concealment only generally, and only against an undifferentiated collective of “Defendants.”
17   Pls.’ Opp’n at 25-26. Plaintiffs purport to excuse this, relying on a pre-Twombly and pre-Iqbal
18   Central District case observing that “[t]he requirements of Rule 9(b) must be read in harmony
19   of Rule 8” and “should not be overdone.” Thomas & Thomas Rodmakers, Inc. v. Newport
20   Adhesives and Composites, Inc., Case No. CV 99-07796 GHK, at 6-7 (C.D. Cal. Jan. 13, 2000)
21   (Saveri Decl. in Supp. of Pls.’ Opp’n, Ex. 2). Thus, Plaintiffs disregard binding Ninth Circuit
22   law that “a statute of limitations may be tolled only if the plaintiff establishes affirmative
23   conduct upon the part of the defendant . . . . Plaintiffs may not generally use the fraudulent
24   concealment by one defendant as a means to toll the statute of limitations against other
25

26   2007) (“antitrust standing is a threshold, pleading-stage inquiry”).
     17
        “Conclusory statements are not enough. [Plaintiff] must plead with particularity the
27   circumstances of the concealment and the facts supporting due diligence.” Conmar Corp. v.
     Mitsui & Co. (U.S.A.), Inc., 858 F.2d 499, 502 (9th Cir. 1988).
28                                                                                           19
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 1   defendants.” Barker v. Am. Mobil Power Corp., 64 F.3d 1397, 1402 (9th Cir. 1995) (internal
 2   citation and quotation marks omitted); see also In re Milk Prods. Antitrust Litig., 84 F. Supp.
 3   2d 1016, 1022-26 (D. Minn. 1997).18 And, Plaintiffs further ignore that Twombly, Iqbal and
 4   Kendall require Plaintiffs to set forth separate factual allegations to give each and every named
 5   Defendant proper notice of who did what to whom, when and where. Defs.’ Mot. to Dismiss
 6   DP-CAC at 29 (citing Twombly, 550 U.S. at 565). Under Plaintiffs’ erroneous view of a
 7   relaxed pleading standard for fraudulent concealment, Plaintiffs would set their heightened bar
8    under Rule 9(b) even lower than the Twombly, Iqbal and Kendall pleading requirements of
 9   Rule 8, turning those cases on their heads.19
10                   Plaintiffs’ reliance on Baggett v. Hewlett-Packard Co., 582 F. Supp. 2d 1261
11   (C.D. Cal. 2007) illustrates their error. Pls.’ Opp’n at 23. In Baggett, the plaintiff claimed that
12   defendant Hewlett-Packard (not a group of defendants lumped together) fraudulently
13   concealed the fact that printer cartridges still contained ink when its printers flashed an
14   “empty” signal and ceased functioning. Id. at 1267.          The court held that allegations of
15   fraudulent concealment, “must meet the heightened pleading standards of Rule 9(b), which
16   requires ‘specificity including an account of the time, place, and specific content of the false
17   representations as well as the identities of the parties to the misrepresentations.’” Id. (citing
18   Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (emphasis added)).20 In Baggett, the
19   plaintiff alleged who fraudulently concealed information (Hewlett-Packard); what the
20
     18
21      Plaintiffs themselves acknowledge that a “plaintiff must allege . . . that the defendant
     engaged in affirmative acts.” Pls.’ Opp’n at 22 (emphasis added); accord Rutledge v. Boston
22   Woven Hose & Rubber Co., 576 F.2d 248, 250 (9th Cir. 1978).
     19
        Plaintiffs suggest that it is inappropriate to resolve allegations of fraudulent concealment at
23   the motion to dismiss stage. Pls.’ Opp’n at 22. To the contrary, it is completely appropriate to
     dismiss allegations of fraudulent concealment on a motion to dismiss where, as here, “the time
24   bar is apparent on the face of the complaint.” In re Static Random Access Memory (SRAM)
     Antitrust Litig., 580 F. Supp. 2d 896, 904 (N.D. Cal. 2008) (internal quotation marks omitted);
25   accord Rutledge, 576 F.2d at 250 (dismissing complaint that failed to properly plead
     fraudulent concealment).
26   20
        Thus, Plaintiffs’ assertion that Vess v. Ciba-Geigy Corp USA., 317 F.3d 1097 (9th Cir. 2003),
27   is inapposite is without merit. Pls.’ Opp’n at 23 n.8. Plaintiffs’ own authority, Baggett,

28                                                                                                   20
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 1   concealed information was (ink was left in the cartridge); and when the information was
 2   withheld (when the printer displayed an empty signal). Plaintiffs here fail to plead any of the
 3   requisite who, what, when, and where details, let alone distinguish among members of a
 4   corporate family of “Defendants.”21
 5                  1.      Plaintiffs’ Claim That Their Complaint Alleges
                            Affirmative Acts Is Unavailing, As The DP-CAC Is Devoid Of
 6                          Any Allegations Of Affirmative Concealment By Any Defendant
 7                  Plaintiffs claim that they allege several acts of affirmative conduct by “the
8    Defendants,” citing to the attendance at “Glass Meetings” by “Defendants”; instructions to
 9   “Defendants” not to take minutes; the participation of “Defendants” in telephone
10   conversations or in-person meetings; and attendance by “Defendants” at various trade
11   association meetings. Pls.’ Opp’n at 25-26. None of these allegations are acts of active
12   concealment by any Defendant. Conmar, 858 F.2d at 502. In fact, these allegations are
13   identical to the facts insufficiently pled by Plaintiffs in support of their claimed conspiracy
14   (DP-CAC ¶¶ 134-99) and they do not allege specific, separate acts to conceal the purported
15   conspiracy, as is required. Nor do they satisfy Barker’s rule that allegations as to one
16   defendant do not state fraudulent concealment by any other defendants. 64 F.3d at 1402.22
17

18
19
     specifically acknowledges that plaintiffs must allege the who, what, where, and when of an
20   alleged fraudulent concealment. 582 F. Supp. 2d at 1267.
     21
        In attempting to plead a conspiracy under Rule 8 and Twombly, Plaintiffs impermissibly
21   lump together groups of Defendants, e.g., “Hitachi,” “Samsung.” Yet, under their heightened
     pleading burden of Rule 9(b), Plaintiffs do not even attempt to distinguish among subgroups of
22   Defendants, lumping all 48 Defendants together as a single group.
     22
23      Plaintiffs claim that In re Conseco Ins. Co. Annuity Marketing & Sales Practices Litigation,
     No. C-05-04726 RMW, 2008 WL 4544441 (N.D. Cal. Sept. 30, 2008), allows them to allege
24   acts of fraudulent concealment generally against the entire group of Defendants. Pls.’ Opp’n at
     23. Conseco is easily distinguished, however, as there the plaintiffs not only identified the
25   specific acts of fraudulent concealment (false statements regarding defendants’ performance,
     costs, subsidies, cash surrender values, liquidity and investment safety), but also how each
26   defendant’s specific role in the underlying conspiracy was directly related to the publication of
     these false statements. 2008 WL 4544441 at *9. Here, Plaintiffs not only fail to allege what
27   the specific acts of concealment are, but also any specific role any single Defendant played in
     making or contributing to them.
28                                                                                                 21
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 1                  E.W. French & Sons, Inc. v. General Portland, Inc., 885 F.2d 1392 (9th Cir.
 2   1989), relied upon by Plaintiffs, is not a pleading case. Nevertheless, it underscores what
 3   Plaintiffs have failed to do in the DP-CAC: plead acts separate from the underlying asserted
 4   conspiracy against each Defendant, such as defendant General Portland’s explicit denial of
 5   price-fixing and its use of plain-white envelopes to distribute pricing information. Those were
 6   separate actions of defendant General Portland (not multiple defendants lumped together) to
 7   conceal the existence of the conspiracy, as distinguished from the underlying conspiratorial
8    conduct. Likewise in Conmar, the complaint alleged the who, what and when of acts of
 9   concealment where the plaintiff pled that defendant Mitsui (again, not multiple defendants
10   lumped together) filed custom documents falsely reporting prices of the relevant product. 858
11   F.2d at 505. Plaintiffs’ allegations of fraudulent concealment in the DP-CAC provide no such
12   detail and no allegation at all against any single Defendant. Instead, the DP-CAC only
13   conclusorily alleges the occurrence of “Glass Meetings” attended by an unspecified number of
14   unidentified “Defendants” “after 2000,” and that “Defendants” were told not to take minutes or
15   engage in telephone conversations. Pls.’ Opp’n at 25-26. Plaintiffs do not allege which
16   Defendants attended these meetings, which Defendants participated in these telephone
17   conversations or what was discussed, or even which Defendants instructed which others to
18   refrain from taking notes at the alleged meetings and which Defendants did so.
19                  2.     Even The Lone Pre-Textual Statement Offered
                           by Plaintiffs Is Not Attributed to Any Defendant
20

21                  Plaintiffs also fail to allege any pretextual justifications asserted by any single
22   Defendant to cover-up the alleged conspiracy. Alleging that Defendants agreed “on what to
23   say about price changes or output restrictions to their customers in order to conceal their
24   conspiracy” or “to give pretextual reasons for price increases and output reductions” (DP-CAC
25   ¶¶ 148, 206), without providing any details regarding which Defendant or Defendants actually
26   said what or when these statements were made, does not suffice to meet the heightened
27   pleading standard of Rule 9(b). See Conmar, 858 F.2d at 502.
28                                                                                                  22
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 1                   Plaintiffs cite as a “pretext” for price increases a statement in a CNET
 2   News.com article regarding a “shortage of critical components such as glass” and, without
 3   attribution at all, “that this price stabilization was purportedly due exclusively to a shortage of
 4   critical components such as glass.” DP-CAC ¶ 191. Plaintiffs do not allege that the statements
 5   were false and Plaintiffs fail to attribute the statements to any Defendant.
 6                   Plaintiffs also allege that “in justifying this price increase, a Deputy General
 7   Manager for an LG Electronics distributor in India stated, ‘[t]his shortage [of glass shells] is a
8    global phenomena and every company has to increase the prices of CRT monitors in due
 9   course of time.’”23 DP-CAC ¶ 209. But this supposedly pretextual statement is attributed not
10   to any of the Defendants, but to a non-Defendant third party, an unnamed distributor of LG
11   Electronics CRT monitors. As such, it is completely irrelevant to any claim of fraudulent
12   concealment. See, e.g., Kuntze v. Carrane, No. 91-C-6145, 1993 WL 85732, at *7 (N.D. Ill.
13   Mar. 22, 1993) (fraudulent concealment rule is limited to the conduct of the defendants).
14            B.     Despite Their Attempts To Recast Their Allegations,
                     Plaintiffs Have Admitted Facts In Their Complaint
15                   That Put Them On Notice Of Their Claims Years Ago
16                   While Plaintiffs’ failure to properly plead fraudulent concealment is fatal to
17   their claims arising from sales before November 26, 2003, they have also admitted facts that
18   put them on notice of such claims well before the filing of the first complaint. In their
19   Opposition, Plaintiffs argue they were not on notice because only “apparently normal market
20   events” were known to them prior to 2007 when the first public announcements of the
21   government’s investigation in the CRT industry were made. DP-CAC ¶ 200; see Pls.’ Opp’n
22   at 31. Plaintiffs’ argument is contradicted by their complaint allegations, which itemize
23   numerous facts the Plaintiffs characterize in the DP-CAC as abnormal market conditions
24

25
     23
26     If anything, Plaintiffs’ admission that a third party, which is unrelated to any of the alleged
     conspirators and not alleged itself to be a conspirator, was the source of these statements is
27   evidence suggesting that the alleged conspiracy, to the extent one existed, was not fraudulently
     concealed.
28                                                                                                  23
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 1   indicative of a conspiracy among Defendants. 24 For example, Plaintiffs allege, citing
 2   information available to them from the 1990s, that the “oligopolistic nature of the CRT
 3   industry” was conducive to collusion, that there were various “examples of collusive pricing
 4   for CRT products,” and “unusual price movements in the CRT market.” DP-CAC ¶¶ 112-21,
 5   188-97. Plaintiffs rely upon these allegations to support their conspiracy claim and they assert
 6   in the DP-CAC that these allegations are “fundamentally inconsistent with a competitive
 7   market.” Arch Elecs. et al. v. LG Elecs., Inc. et al., filed Nov. 29, 2007, Complaint at ¶ 76.
8    Plaintiffs’ disingenuous attempt to now dismiss the very same allegations as normal market
 9   events should be disregarded.25
10            C.     Plaintiffs Concede They Have Failed To Plead Due
                     Diligence, Barring Them From Tolling The Statute Of Limitations
11

12                   Finally, even if Plaintiffs had properly pled fraudulent concealment (they have

13   not), Plaintiffs concede that they did not diligently pursue further information, as is required.

14   Pls.’ Opp’n at 32. Instead, Plaintiffs conclusorily assert only that “Defendants’ price-fixing

15   conspiracy was inherently self-concealing.” DP-CAC ¶ 203. The Ninth Circuit, however,

16   “require[s] more.” Conmar, 858 F.2d at 505; see Rutledge, 576 F.2d at 250 (plaintiffs could

17   not rely “upon conclusory statements [regarding due diligence] to avoid the bar of

18   limitations.”). Indeed, Plaintiffs concede that due diligence is required when “facts exist that

19   would excite the inquiry of a reasonable person” (Pls.’ Opp’n at 32), but Plaintiffs fail to

20   explain why the facts alleged in the DP-CAC as evidence of an abnormal conspiratorial market

21

22

23   24
        Contrary to Plaintiffs’ facile assertion, Plaintiffs’ admissions in their Complaint that they
     had constructive notice of facts that should have reasonably excited their inquiry do not
24   undermine the fact that their Complaint is defective under Rule 8 and Twombly. The principal
     Rule 8 defects in the complaint concern a failure to plausibly allege a conspiracy as to Finished
25   Products or as to specific individual Defendants.
     25
26      Plaintiffs seem to interpret the fraudulent concealment standard to be that because they,
     personally, did not learn of these facts at the time, the alleged conspiracy, ipso facto, must have
27   been fraudulently concealed. Plaintiffs’ argument has no basis whatsoever in the law of this
     Circuit or of any other court.
28                                                                                                    24
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 1   (DP-CAC ¶¶ 112-21, 188-97) did not excite Plaintiffs at least to investigate whether they had
 2   potential claims.
 3                  Thus, for Defendants named in the first complaint filed on November 26, 2007,
 4   Plaintiffs’ claims must be limited to sales since November 26, 2003, and for later named
 5   Defendants, to their sales in the four year period prior to being named.
 6                                          CONCLUSION
 7                  For all of the reasons stated above, and those set forth in Defendants’ opening

8    brief, the DP-CAC should be dismissed in its entirety.

 9
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27   the filing of this document has been obtained from each of the above signatories.
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